          Case 2:23-bk-10990-NB                     Doc 1081 Filed 05/15/25 Entered 05/15/25 08:37:04                                     Desc
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & Email    FOR COURT USE ONLY
 Address

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         Individual appearing without an attorney
         Attorney for Movant(s)


                                            UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                          CASE NO.: 2:23-bk-10990-SK
 Leslie Klein                                                                    CHAPTER: 11


                                                                                 NOTICE OF LODGMENT OF ORDER IN
                                                                                 BANKRUPTCY CASE RE: MOTION FOR
                                                                                 RELIEF FROM THE AUTOMATIC STAY UNDER 11
                                                                 Debtor(s)
                                                                                 U.S.C. § 362 (REAL PROPERTY)



PLEASE TAKE NOTE that the order titled ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC
STAY UNDER 11 U.S.C. § 362 (REAL PROPERTY) was lodged on (date) May 15, 2025 and is attached. This order
relates to the motion which is docket number 174.




__________________________________

¹ Please abbreviate if title cannot fit into text field.

NtcLdgmt_CA001
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                                      14841 Dallas Parkway Suite 350
                                                           Dallas, Texas 75254

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY CASE
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner indicated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) May
15, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

 U.S. Trustee ustpregion16.la.ecf@usdoj.gov                    Jeffrey N Pomerantz pomerantz@pszjlaw.com
 Jeffrey W Dulberg jdulberg@pszjlaw.com                        Ron Maroko ron.maroko@usdoj.gov
 John W Lucas jlucas@pszjlaw.com
 Jeffrey P Nolan jnolan@pszjlaw.com

                                                                                                                                                              
                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) May 15, 2025, I served the following persons and or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 U.S. Bankruptcy Court                             Debtor
 Honorable Neil W. Bason                           Leslie Klein
 255 E. Temple Street, Suite 1552                  322 N. June Street
 Los Angeles, CA 90012                             Los Angeles, CA 90001

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on the judge will be completed no later than 24 hours after the document is filed.



                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.


 May 15, 2025                  Corey Banks                                                   /s/Corey Banks
 Date                          Printed Name                                                  Signature




NtcLdgmt_CA001                                                                                                                                  7768-N-9112
           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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